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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                             Case No: 21-CR-720 (RDM)
     v.

 EZEKIEL KURT STECHER,

      Defendant.


                          GOVERNMENT’S UPDATE TO THE COURT

          The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia hereby submit this update to the Court regarding the above-mentioned

matter and consistent with the Court directive for the government to state its position on the timing of when

the defendant should self-surrender to a U.S. Bureau of Prison facility to begin the defendant’s Court

Ordered term of incarceration.

          After conferring with the undersigned counsel for the government’s supervisors, the government

states the following: the government respectfully objects to the defendant’s request to self-surrender

sometime in October 2024. More broadly, the government avers that it and the public have an interest in a

speedy and reasonable final resolution of this matter; furthermore, the government’s objection rest on many

factors – one of which is there are many defendants who have been convicted in this court who have

business interests and work related matters which are interrupted by terms of incarceration and are swiftly

and in a reasonable time frame sent to prison to begin their term of incarceration - to do otherwise in this

case, the government avers, would set a poor precedent in granting the defendant’s request. Simply stated,

however, the government believes the Court has the authority to use its discretion and set whatever date

the Court wishes for the defendant to self-surrender in this matter.
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WHEREFORE, the government submits this update to the Court.



                              Respectfully submitted,

                              MATTHEW M. GRAVES
                              United States Attorney

                              By:       /s/ Matthew Beckwith
                                        Matthew Beckwith
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                               CERTIFICATE OF SERVICE

       I HEREBY certify that, this 10th day of January 2024, a copy of the foregoing request was

served by e-mail on counsel for the defendant.


                                           /s/ Matthew Beckwith
                                           Matthew Beckwith
                                           Assistant United States Attorney




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